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AO 91 (Rev. 11/11) Criminal Complaint

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| orohibite y court order. Southern District of Texas FEB 27 2020
United States of America ) David J. Bradley, Clerk of Court
Vv. )
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) Case No. Lie 2 my) 1(¢
Himanshu Kumar
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 2019 to present in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 USC 1341 Mail Fraud
18 USC 2314 Interstate Transportation of Stolen Property

This criminal complaint is based on these facts:

See attached affidavit.

@ Continued on the attached sheet.

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Cc Complainant's signature

Special Agent Mary Beth Wright

Printed name and title

Sworn to before me and signed in my presence.

Date: 02/27/2020 A

. Lo. ye
City and state: Houston, TX _/Mancy Jotinson, United States Magistrate Judge

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
AND ARREST WARRANT

I, Mary Beth Wright, a Special Agent with the Federal Bureau of
Investigation (FBI), being duly sworn, depose and state:

INTRODUCTION AND BACKGROUND

1. [have been employed as a Special Agent with the FBI since September of
2008. I have received extensive training in the investigation of violations of
federal and state law. I am currently assigned to the FBI Texas City Resident
Agency (TCRA). I have participated in and have initiated numerous federal
investigations which have resulted in the arrest and conviction of individuals who
have violated federal laws. I have testified in federal judicial proceedings for
violations of federal laws. I have been involved in various types of federal
investigations, in the application for and execution of numerous federal search and
arrest warrants, and in the debriefing of suspects, defendants, witnesses, and
informants, as well as others who have knowledge of the violation of federal laws.

BACKGROUND AND EVIDENCE OF FRAUD

2. On February 11, 2020, TCRA received information from Fort Bend County
Sheriff’s Office (FBSO) regarding an elder technical support fraud scheme
involving the mailing of cash to Federal Express (FedEx) locations in the Southern
District of Texas. In general, a technical support scheme occurs when fraudsters

trick victims, often elderly, into giving them remote access to the victims’

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computers and bank accounts under the guise of providing tech support. One
version of this scheme involves victims being told later that they received an
overpayment on a refund and that they need to mail the money back in the form of
cash or prepaid gift cards.

3. As part of this investigation, I reviewed a police report filed by victim AG
with the Indiana State Police. AG reported she was contacted by phone and
instructed to mail $10,000 cash via FedEx to “Victor Aubert” in Houston, Texas
because someone doing computer work for her had inadvertently put $10,000 into
AG’s bank account and she needed to return it. Believing the caller, on February 5,
2020, victim AG mailed $10,000 in cash via FedEx from Evansville, IN to “Victor
Aubert” at a FedEx store in Houston, TX. FBSO spoke with FedEx Corporate
Security, who advised that on February 6, 2020, the package was picked up by an
individual who presented identification as “Victor Aubert.” I later determined that
Aubert was Md AZAD by surveillance to an apartment complex where I was able
to inspect an apartment lease by MD AZAD and Himanshu KUMAR along with
copies of AZAD’S and KUMAR’S Indian passports and visa applications (please
see paragraphs 10 and 11).

4, FedEx reported that Aubert (AZAD) had received several packages in the

Houston area since December of 2019. I reviewed the FedEx surveillance video of

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the individual picking up the package on February 6, 2020, and identified him to
be AZAD.

5. I contacted Wes Watson (Watson) with FedEx Corporate Security and
obtained a list of shipments sent to Aubert (AZAD) in the past two months. FedEx
showed that Aubert (AZAD) was listed as the recipient of 16 packages sent to
Houston, Texas-area FedEx stores in January and February of 2020. FedEx sent
out an internal alert to its employees to be vigilant about packages being picked up
by Aubert or an individual matching Aubert’s description. Through the internal
alert, FedEx identified an additional alias being used by Aubert (AZAD) of “Steve
Bernard.” FedEx showed that Bernard was listed as the recipient of five packages
sent to Houston, Texas-area FedEx stores in February 2020.

6. I spoke to victim AE who told me that on January 17, 2020, she mailed
$20,000 in cash via FedEx from Grand Prairie, Texas to “Victor Aubert” (AZAD)
a FedEx store in Houston, TX. AE reported that she had been defrauded to local
police and the FBI. AE says she gave a tech support company she found online her
debit card number and remote access to her computer after she got a new laptop.
The tech company later told her she was getting a partial refund and then told her
they had inadvertently overpaid her and that she needed to return the money via
FedEx. I reviewed FedEx surveillance video of the individual picking up the

package from AE on January 18, 2020, and identified him to be AZAD.

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7. On February 22, 2020, I observed KUMAR enter the FedEx location at
10904 Memorial Hermann Dr, #103, Pearland TX. KUMAR presented
identification for “Charles Pedro,” picked up a package and left by vehicle. FBI
employees followed the vehicle and observed KUMAR and AZAD exit the vehicle
at the Urban Palms apartment complex located at 8701 Town Park Drive, Houston,
TX. Later that day, FBI employees observed KUMAR depart the apartment
complex and go into a UPS store in Houston, TX. I contacted the UPS Store
owner and obtained the surveillance video of KUMAR where I observed that he
picked up three packages. The UPS store owner told me that KUMAR had used a
Capital One debit card to make a purchase that day. I contacted Capital One and
learned that the card was associated with an account in the name of Himanshu
KUMAR.

8. The FBI also interviewed victim AD. AD said that on February 21, 2020, he
mailed $20,000 cash from California to “Charles Pedro” at a UPS store in
Sugarland, TX. AD said he mailed the money because he was told he needed to
return an overpayment related to his “V-Tech Solutions” on his computer. AD
determined he had been defrauded and unsuccessfully attempted to intercept the
package before it was picked up. On February 22, 2020, an individual providing
identification in the name of “Charles Pedro” picked up the package at UPS

Sugarland. Based on the video I have observed from FedEx of KUMAR

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portraying himself as “Charles Pedro” and KUMAR presenting identification at
FedEx in the name of “Charles Pedro,” it is reasonable to believe the individual
posing as Pedro at UPS Sugarland was KUMAR.

9. On February 25, 2020, Watson intercepted a package from GP in Center
Valley, Pennsylvania addressed to “Charles Pedro” in Houston, Texas. Watson,
under his authority and guidelines with FedEx, opened the package, observed and
photographed $20,000 in cash that was packaged within foil and paper. The same
day, KUMAR came into the store to pick up the package. Watson photographed
KUMAR’s identification, which was in the name of “Charles Pedro,” but did not
turn over the package to him. Watson instead provided FBI agents with the cash,
which was placed into evidence. Since then, GP has been calling Watson to ask
why the package was not delivered because she is receiving calls that if she does
not send the money, the caller will “buy weapons using your identity.”

10. On February 26, 2020, Watson intercepted a package mailed via FedEx from
JA in Michigan to “Charles Pedro” in Houston, Texas. Watson opened the
package, and documented the contents to be $15,000 in cash, packaged within foil
and paper. Watson repackaged the contents. I observed KUMAR depart the Urban
Palms apartments by vehicle, at approximately 10:30 a.m. At or about 11:30 a.m.,
KUMAR arrived at the FedEx store, carrying another package he appeared to have

picked up elsewhere, and retrieved JA’s package. At approximately 11:50 a.m., I

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observed KUMAR return with a box and enter apartment 2163. I contacted the
apartment manager who provided the leasing documentation, which showed
KUMAR and AZAD leased apartment 2163 on February 7, 2020. The manager
provided a copy of AZAD’s Indian passport #N4558803. I observed that AZAD
was the same individual who used the identity of Aubert and Bernard. The
manager also provided a copy of KUMAR’s Indian passport #P9973408. I
observed that KUMAR was the same individual who used the identity of Pedro and
Caraballo.

11. Lalso observed AZAD’s Non-Immigrant Visa application photo. I observed
that AZAD was the same individual who used the identity of Aubert and Bernard.
I also observed KUMAR’s Non-Immigrant Visa application photo. I observed that
KUMAR was the same individual who used the identity of Pedro and Caraballo.
12. Based upon the information delineated above, I believe that probable cause
exists for the issuance of a Criminal Complaint charging Himanshu KUMAR and
Md AZAD with violations of Title 18 USC 1341 (Mail Fraud) and 18 USC 2314

(Interstate Transportation of Stolen Property).

Respectfully submitted,

LV bg LE.

Mary Beth Wright, Special Agent
Federal Bureau of Investigation

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Subscribed and sworn to before me this 27" day of February, 2020, and I find

probable cause.
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Mancy Jo 7
hited States Magistrate Judge

